EXHIBIT A
                                                                       English




                                         CALL US TODAY: (888) 684-3122




                                           The Visa/MC Settlement




Access Your Share of                         Disclaimer: Neither Certainty
This Historic Visa &                       Management nor our fulfillment
                                       partners at LenCred can guarantee the
                                        amount of your personal settlement
MasterCard                                  payout. The payout amount is
                                          contingent on factors such as your

Fee Overpayment
                                        processing volume, interchange fees
                                         paid, the number of years (between
                                          2004-2019) you accepted Visa and

Settlement                             MasterCard payments, and additional
                                           variables. Furthermore, the final
                                        amount will also be influenced by the
                                         final number of merchants who opt
Did your business accept Visa or                  into the settlement.
MasterCard anytime between
January 1, 2004 and January 24,        Opt-in Deadline
2019? If so, then you may qualify to
                                              is
share in one of the largest class
action settlement payouts in
                                       February 4, 2025              English


history, a staggering $6.1 Billion
Dollars. Visa Inc. and MasterCard
                                        CALL US TODAY: (888) 684-3122
Inc. settled this case and were
ordered to repay merchant
processing interchange fees
                                       • This settlement payout is
overpaid by their customers. To be
                                         available to any U.S.-based
included, you must opt into the list
                                         client who accepted Visa and
of participating merchants by            MasterCard payments from
August 30th, 2024. You will not be       Jan. 1st, 2004, to Jan. 1st, 2019
included unless you opt-in               (this settlement payout is
officially. No personal documents        retroactive for 15 years).
or statements are required. To
apply, we just need your               • Funds recovered are split
business name and basic contact          60/40 with the facilitation
information. That's it. Once             team. You retain 60%; the
received, our team will send you         legal and fintech team
our retainer agreement via               receives 40% (remember, in
                                         many cases, the team
DocuSign. To learn more about
                                         members who have been
this opportunity, please watch the
                                         working on this settlement
video below and opt-in by
                                         have been doing so for 20+
submitting to us your name and
                                         years).
information below.
                                       • Zero upfront costs to you,
                                         the merchant.

                                       • Payouts are estimated in the
                                         second half of 2025.
Visa, MasterCard $5.6
Billion Dollar
                                       • Please submit your name
                                         and information below. Our
Settlement with                       legal team will send you your
                                      DocuSign agreement by English
                                                               the
Retailers is Upheld.                  next business day.
(From Reuters News).                 CALL US TODAY: (888) 684-3122


A federal appeals court on
Wednesday upheld a $5.6 billion
antitrust class-action settlement
with more than 12 million
retailers that accused Visa Inc.
and MasterCard Inc. of
improperly fixing credit and
debit card fees.
                                     Three Simple Steps
The 2nd U.S. Circuit Court of
Appeals in Manhattan [NY]             to Participate in
rejected claims that a class            the Visa/MC
action should not have been
certified because of confusion          Settlement.
over who deserved
compensation, and that the           1. Complete and submit the opt-
$523 million of legal fees           in registration form below.
awarded to the retailers' lawyers
was too high.
                                     2. Watch for an email from
                                     lburnett@lencred.com. If you
The case is [in regards] to
                                     don't see it appear within 48
Payment Card Interchange Fee
                                     hours, please check your Spam or
and Merchant Discount
                                     call us Mon.-Sat. 9-6 Pacific at
Antitrust Litigation, 2nd U.S.       (888) 684-3122.
Circuit Court of Appeals, No. 20-
339." See Reuters News articles
here (3/15/23) and here (3/27/24).   3. Complete and submit the e-
                                     signature agreement in the email
                                   you receive before it expires to be
                                   officially opted in.           English



                                         If you owned multiple
                                      organizations
                                   CALL  US TODAY:for   which
                                                      (888)   you
                                                            684-3122
                                      processed Visa/MC charges
                                    between 2004 and 2019, please
                                    submit a separate form for each
                                              EIN # owned.



                                            Download Q & A
                                                Flier




Owner / Claimant Full Name

List Your Business/Entity Name

Your Email Address

Your Phone Number

How Many Entities Do You Own?

Who Referred You (Their Full Nam


     Submit Opt-In Information
                                                                           English


The Certainty Management team has multiple years of experience helping
clients improve their profitability through zero-downside cost-reduction, tax
credit recovery, deep discount health benefits CALL   US TODAY:
                                                 (for groups,      (888) 684-3122
                                                              individuals, 1099s,
and more), taxes mitigation strategies, etc. We can lower HVAC costs,
recover medical underpayments, provide fast business funding, and more.
Ask us how we can cut your printer and copier lease contracts by 30-60%
with zero upfront or out-of-pocket expense. Don't miss out on our
extraordinary "Corporate Benefits Initiative," a program that provides 15+
health and wellness benefits to any organization with 10+ W-2 employees
(life insurance, telemedicine, unlimited counseling, 1000+ free prescriptions,
urgent care, annual exams, and more), all with zero out-of-pocket cost to
you or to them. We're helping employees get more healthy in hopes of
lowering the future costs of Medicare. It's win-win all around.
X
Do you know anyone with student loans? Our Student Loan Forgiveness
Program has eliminated over $250 million in Federal loans for thousands of
students since 2010. We can do the same for you or any student who is no
longer in school and has at least $20,000 in Federal debt. These are just
examples of how we're helping our clients to enjoy More Certainty in their
lives. Learn more about us on our website at https://certaintyteam.com or
get to know us better through our weekly VoiceAmerica Business radio
show, Finding Certainty, at www.certaintylive.com. Ask us how we can help
raise unlimited zero-cost funding for your favorite nonprofits as well. We're
here to help.
X


                 Welcome to Certainty.
                                      X
     Have questions? Schedule a time to meet with us or call us
          Monday-Saturday 9 am-6 pm at (888) 684-3122.
                               English



© 2024 All Rights Reserved
       CALL US TODAY: (888) 684-3122
